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Case 2:07-md-01873-KDE-ALC Document 14212 Filed 05/27/10 Page 5 of 6 [ 0 q ']

= AO 440 (Rev, 04/08) Civil Summons

UNITED STATES DISTRICT, COURT

for the

EASTERN District of LOUISIANA

ALYSIA MCCRARY, ET AL )
Plaintiff ) .
v. ) Civil Action No. 09-5975
THOR CALIFORNIA, INC. ET AL )
Defendant )

Summons in a Civil Action

To: (Defendant's name and address)
The United States of America, through
James Letten, US Attorney for the Eastern District of LA
500 Poydras Street, Suite B210
New Orleans, LA 70130

A lawsuit has been filed against you.

Within _60_ days after service of this summons on you (not counting the day you received it), you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff's attomey, whose name and address are:
Justin I. Woods
1100 Poydras St., Suite 2800
New Orleans, LA 70163-2800

If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

Date: May 27 2010

7a

rarer a
‘Signature SS
oe" Or:
Tot!

(Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States allowed 60 days by
Rule 12(a)(3).)
Case 2:07-md-01873-KDE-MBN Document 14465 Filed 06/22/10 Page 2 of 3
Case 2:07-md-01873-KDE-ALC Document 14212 Filed 05/27/10 Page 6 of 6

% AO 440 (Rev. 04/08) Civil Sammons (Page 2)

Proof of Service

I declare under penalty of perjury that I served the summons and complaint in this case on

by:

(1) personally delivering a copy of each to the individual at this place,

(2) leaving a copy of each at the individual’s dwelling or usual place of abode with

who resides there and is of suitable age and discretion; or

(3) delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is

; or
(4) returning the summons unexecuted to the court clerk on ; Or
(5)other (specify)
My fees are $ for travel and $ for services, for a total of $ 0.00 .
Date:

Server's signature

Printed name and title

Server’s address
Case 2:07-md- -
md-01873-KDE-MBN Document 14465 Filed 06/22/10 Page 3 of 3

Unitep STATES PosTAL SERVICE
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Justin I. Woods, Esq.
Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C
1100 Poydras Street, Suite 2800 _ «
New Orleans, Louisiana 70163

Formaldehyde: 09-5975, Alysia McCrary

oN |p) 5% exo) (Mt e ees ed ee Foto) Vee t= sesso epee sake

H Complete items 4,2, and 3. Also complete A. Signature :
item 4 if Restricted Delivery is desired. x / | NAN C1 Agent
B Print your name and address on the reverse - C1 Addressee
so that we can return the card to you. B. Agceived by (Printed Name) C. Date of Delivery

Attach this card to the back of the mailpiece,
or on the front if space permits.

D. Is delivery address different from item 1?
1, Article Addressed to: if YES, enter delivery address below:

James Letten, U.S. Attorney

for the Eastern District of LA
500 Poydras Street, Suite B210 |
New Orleans, LA 70130

3. Service Type
OO Certified Mail C0 Express Mail
CO Registered CO Return Receipt for Merchandise
Cl Insured Mail _ 1 G,0.D.

4, Restricted Delivery? (Extra Fee) OO Yes

ee sooa 2a30 OOO4 LL? e430

(Transfer from service label,
PS Form 3811, February 2004 Domestic Return Receipt 102595-02-M-1540 |

